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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA
                                                           *
                     vs.                                                  Case No.       1:23-cr-00022-SAG
                                                           *
          Justin Ernest Riggs
                                                           *

                                                       ******

                MEMORANDUM OPINION AND ORDER DENYING DEFENDANT’S
                     MOTION FOR RELEASE PENDING TRIAL



         Before the Court is Defendant’s Motion for Release Pending Trial wherein he argues

primarily that there is now information that exists that was not known at the time of his original

detention hearing that would have a materials bearing on the availability of suitable release

conditions that will reasonably assure the safety of others in the community, pursuant to 18 USC

3142(f)(2). 1 (ECF No. 51). The Court has also considered the Government’s opposition and

Defendant’s reply brief. (ECF Nos. 55 and 56). The Court finds that no hearing is necessary and

will deny the motion for the reasons set forth below.

         According to the indictment, Defendant, then a sworn officer in the Maryland State

Troopers, is charged with various counts stemming from his undermining of a drug investigation

of which he was a part, including providing information to a target of the investigation regarding



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  Defendant alternatively argues that release is appropriate under 18 U.S.C. 3142(i) “to the
extent that the judicial officer determines such release to be necessary for preparation of the
person’s defense or for another compelling reason.” However, Defendant offers no support as to why his detention
undermines the preparation of his defense beyond that of any detained individual, nor does he offer “another
compelling reason” as that phrase has been interpreted by most courts. See, e.g., United States v. Rebollo-
Andino , 312 Fed. App'x 346, 348 (1st Cir. 2009) (noting the defendant could seek temporary release under §
3142(i) for medical reasons). Courts have typically granted relief under § 3142(i) only "sparingly to permit a
defendant's release where, for example, he is suffering from a terminal illness or serious injuries." United States v.
Hamilton , No. 19-CR-54-01, 2020 WL 1323036, at *2 (E.D.N.Y. Mar. 20, 2020).
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the specifics of investigative tools being utilized by law enforcement, and the identity of a

government informant in return for $1800. (ECF No. 17). Defendant’s detention hearing was

held on January 13, 2023, before then-Magistrate Judge Brendan Hurson, who ordered

Defendant detained. (ECF No. 14).

       In his decision-making, as expressed at the hearing, Judge Hurson first noted the presence

of many of the factors under the Bail Reform Act that would normally support release, including

Defendant’s lack of criminal history, lack of substance abuse history, stable employment, and

exemplary family support, noting that Defendant presented “the best possible third-party

custodian and family support you could have.” (ECF No. 55 at 11). Instead, Judge Hurson’s

concern was Defendant’s willingness to violate his oath as a law enforcement officer, completely

undermine the investigation of which he was a part (and potentially the safety of his fellow

officers) and provide information about an informant that he knew “was very likely to end in

someone’s death.” Id. at 12. The motivation for this betrayal was not blackmail, or substance

abuse, or mental health challenges, or coercion, but apparently financial pressure over $1800.

       Defendant offers the following arguments in support of his release. First, he offers a new

proposed third-party custodian. The Court has no doubt that the proposed custodian would be

reliable in that role. However, as pointed out above, no part of Judge Hurson’s decision was

based on the lack of appropriate third-party custodian. Second, Defendant argues that the

strictest conditions of release, including home confinement, would ensure compliance. Again,

all of those conditions were potentially available to Judge Hurson but did not provide Judge

Hurson with reasonable assurance of compliance. Finally, Defendant argues that the passage of

time has diluted his ability to obstruct the Government’s investigation because it has been almost




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two years since Defendant served as a state trooper such that his contacts in law enforcement are

gone and could not be leveraged to undermine the case against him. (ECF No. 51 at 1-2).

Accepting Defendant’s premise that time and his criminal charges have severed any possible ties

and loyalties with former colleagues in law enforcement, Defendant nonetheless retains his

expertise in understanding how cases are put together and, therefore, potentially undermined. No

trial date has been set in his case. Even if investigation is over, the information gleaned through

discovery and that remains to be learned as trial approaches, if anything, creates more risk that

Defendant could attempt to obstruct the Government’s efforts. The Court also observes that the

damage Defendant did and the corresponding risk he created did not rely on cooperation of his

fellow agents.

       More fundamentally, as observed by Judge Hurson, Defendant destroyed a series of trust

relationships when under financial pressure, to include providing information he knew was all

but certain to cause, at the very least, grievous bodily injury and likely death. The stakes are

now substantially higher. Ultimately, pretrial supervision relies on a foundation of trust given

the reality that at any given time, there are hundreds of individuals on release being supervised

by a substantially smaller number of Pretrial Services officers. Given the lengths that Defendant

was willing to go notwithstanding his prior oath and his responsibilities to his fellow officers and

the public, the Court is no more assured than Judge Hurson was that his release would not pose

an unreasonable risk to others even under the strictest conditions.




 1/15/2025
Date                                                  J. Mark Coulson
                                                      United States Magistrate Judge




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